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 1   Kenneth S. Marks
     Jonathan J. Ross
 2   SUSMAN GODFREY LLP
     1000 Louisiana Street, Suite 5100
 3   Houston, Texas 77002-5096
     Telephone: (713) 651-9366
 4   Facsimile: (713) 654-6666
     kmarks@susmangodfrey.com
 5   jross@susmangodfrey.com

 6   Attorneys for plaintiff Alfred H. Siegel, solely
     in his capacity as Trustee of the Circuit City
 7   Stores, Inc. Liquidating Trust

 8   [additional counsel listed on signature page]

 9                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN FRANCISCO DIVISION

11   In re: CATHODE RAY TUBE (CRT)                             Master File No. 07-5944 SC
     ANTITRUST LITIGATION
12
                                                               MDL No. 1917
13   This Document Relates to:
14   Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
     01173;
15
     Electrograph Systems, Inc. et al. v. Technicolor SA,
16   et al., No. 13-cv-05724;                                  PLAINTIFFS’ ADMINISTRATIVE
                                                               MOTION TO SEAL PORTIONS OF
17   Siegel v. Technicolor SA, et al., No. 13-cv-05261;        THEIR OPPOSITION TO
                                                               DEFENDANT THOMSON
18   Best Buy Co., Inc. v. Technicolor SA, et al., No. 13-     CONSUMER’S MOTION FOR
     cv-05264;                                                 SUMMARY JUDGMENT AND
19                                                             PARTIAL SUMMARY JUDGMENT
     Interbond Corporation of America v. Technicolor           PURSUANT TO CIVIL LOCAL
20   SA, et al., No. 13-cv-05727;                              RULES 7-11 AND 79-5(d)

21   Office Depot, Inc. v. Technicolor SA, et al., No. 13-
     cv-05726;                                                 The Honorable Samuel Conti
22
     Costco Wholesale Corporation v. Technicolor SA, et
23   al., No. 13-cv-05723;
24   P.C. Richard & Son Long Island Corporation, et al.
     v. Technicolor SA, et al., No. 13-cv-05725
25
     Schultze Agency Services, LLC, o/b/o Tweeter Opco,
26   LLC, et al. v. Technicolor SA, Ltd., et al., No. 13-cv-
     05668;
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                  PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13-cv-05262;
 2

 3   Target Corp. v. Technicolor SA, et al., No. 13-cv-
     05686;
 4
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
 5   13-cv-00157;
 6   Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
     No. 14-cv-02510.
 7

 8
             Pursuant to Civil Local Rules 7-11 and 79-5(d), Plaintiffs hereby move for administrative
 9
     relief regarding Plaintiffs’ Opposition to Thomson Consumer’s Motion for Summary Judgment
10
     and Partial Summary Judgment. Plaintiffs respectfully request an order permitting Plaintiffs to file
11
     the following documents, or portions thereof, under seal:
12
             1.         The highlighted portions of Plaintiffs’ Opposition to Thomson Consumer’s Motion
13
     for Summary Judgment and Partial Summary Judgment (the “Opposition”);
14
             2.         Exhibits 1 through 44 to the concurrently filed Declaration of David M. Peterson in
15
     Support of the Opposition (the “Peterson Declaration”).
16
             This motion is supported by the Declaration of David M. Peterson in Support of the
17
     Plaintiffs’ Administrative Motion to File Documents Under Seal Pursuant to Civil Local Rules 7-
18
     11 and 79-5(d), dated December 22, 2014. See Civ. L. R. 79-5(d)(1)(A) (stating that an
19
     administrative motion to seal must be accompanied by a declaration “establishing that the
20
     document sought to be filed under seal . . . [is] sealable”).
21
             As set forth in the Peterson Declaration, the documents that Plaintiffs seek to file under
22
     seal contain either (a) material designated by Defendants pursuant to the Stipulated Protective
23
     Order (Dkt. 306, amended at Dkt. 1142, June 18, 2008) as “Confidential” or “Highly Confidential”
24
     or (b) analysis of, references to, or information taken directly from material designated by
25
     Defendants pursuant to the Stipulated Protective Order as “Confidential” or “Highly Confidential.”
26
     See Peterson Decl.
27

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 1           Plaintiffs take no position whether the designated documents satisfy the requirements for

 2   sealing. Although Plaintiffs’ request is narrowly tailored to include only the information that may

 3   require confidentiality, it is Defendants’ burden to show good cause for sealing the designated

 4   documents by submitting a declaration within four days of the lodging of the designated

 5   documents. See Civil Local Rule 79-5(e).

 6           Because Civil Local Rule 79-5(b) prohibits the sealing of documents by agreement of the

 7   parties, the parties are unable to enter into such a stipulation. See Civil Local Rules 7-11(a)

 8   (requiring explanation of lack of stipulation).

 9

10           Dated: December 22, 2014

11

12                                    By: /s/ Kenneth S. Marks
                                         Kenneth S. Marks
13                                       Jonathan J. Ross
                                         Johnny W. Carter
14                                       Robert S. Safi
                                         David M. Peterson
15                                       Matthew C. Behncke
                                         SUSMAN GODFREY L.L.P.
16                                       1000 Louisiana Street, Suite 5100
                                         Houston, Texas 77002
17                                       Telephone: (713) 651-9366
                                         Facsimile: (713) 654-6666
18                                       Email: kmarks@susmangodfrey.com
                                                jross@susmangodfrey.com
19                                              jcarter@susmangodfrey.com
                                                rsafi@susmangodfrey.com
20                                              dpeterson@susmangodfrey.com
                                                mbehncke@susmangodfrey.com
21
                                          Parker C. Folse III
22                                        Rachel S. Black
                                          Jordan Connors
23                                        SUSMAN GODFREY L.L.P.
                                          1201 Third Avenue, Suite 3800
24                                        Seattle, Washington 98101-3000
                                          Telephone: (206) 516-3880
25                                        Facsimile: (206) 516-3883
                                          Email: pfolse@susmangodfrey.com
26                                                rblack@susmangodfrey.com
                                                  jconnors@susmangodfrey.com
27
                                          Attorneys for plaintiff Alfred H. Siegel, solely in his
28
                  PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1                                   capacity as Trustee of the Circuit City Stores, Inc.
                                     Liquidating Trust
 2

 3

 4

 5

 6                                   By: /s/ Craig A. Benson
                                     Kenneth A. Gallo (pro hac vice)
 7                                   Joseph J. Simons (pro hac vice)
                                     Craig A. Benson (pro hac vice)
 8                                   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
                                     2001 K Street, NW
 9                                   Washington, DC 20006
                                     Telephone: (202) 223-7300
10                                   Facsimile: (202) 223-7420
                                     Email: kgallo@paulweiss.com
11                                   Email: jsimons@paulweiss.com
                                     Email: cbenson@paulweiss.com
12
                                     Stephen E. Taylor (SBN 058452)
13                                   Jonathan A. Patchen (SBN 237346)
                                     TAYLOR & COMPANY LAW OFFICES, LLP
14                                   One Ferry Building, Suite 355
15                                   San Francisco, California 94111
                                     Telephone: (415) 788-8200
16                                   Facsimile: (415) 788-8208
                                     Email: staylor@tcolaw.com
17                                   Email: jpatchen@tcolaw.com
18                                   Attorneys for Plaintiffs Sharp Electronics Corporation and
19                                   Sharp Electronics Manufacturing Co. of America

20

21

22                                     By: /s/ David Martinez

23                                     Roman M. Silberfeld, (SBN 62783)
                                       David Martinez, (SBN 193183)
24                                     Jill Casselman
25                                     ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
                                       2049 Century Park East, Suite 3400
26                                     Los Angeles, CA 90067-3208
                                       Telephone: (310) 552-0130
27                                     Facsimile: (310) 229-5800
28
                  PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1                                     Email: RMSilberfeld@rkmc.com
                                       Email: DMartinez@rkmc.com
 2                                     Email: jcasselman@rkmc.com
 3
                                       Elliot S. Kaplan
 4                                     K. Craig Wildfang
                                       Laura E. Nelson
 5                                     ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
                                       800 LaSalle Avenue
 6
                                       2800 LaSalle Plaza
 7                                     Minneapolis, MN 55402
                                       Telephone: (612) 349-8500
 8                                     Facsimile: (612) 339-4181
                                       Email: eskaplan@rkmc.com
 9                                     Email: kcwildfang@rkmc.com
10                                     Email: lenelson@rkmc.com

11
                                       Attorneys For Plaintiffs Best Buy Co., Inc, Best Buy
12                                     Purchasing LLC, Best Buy Enterprise Services, Inc.,
                                       Best Buy Stores, L.P., Bestbuy.com, L.L.C., and
13
                                       Magnolia Hi-Fi, Inc.
14

15
                                       By: /s/ Jason Murray
16

17                                     Jason C. Murray (CA Bar No. 169806)
                                       CROWELL & MORING LLP
18
                                       515 South Flower St., 40th Floor
19                                     Los Angeles, CA 90071
                                       Telephone: 213-443-5582
20                                     Facsimile: 213-622-2690
                                       Email: jmurray@crowell.com
21

22
                                       Jerome A. Murphy (pro hac vice)
23                                     Astor H.L. Heaven (pro hac vice)
                                       CROWELL & MORING LLP
24                                     1001 Pennsylvania Avenue, N.W.
                                       Washington, D.C. 20004
25
                                       Telephone: 202-624-2500
26                                     Facsimile: 202-628-5116
                                       E-mail: jmurphy@crowell.com
27                                     Email aheaven@crowell.com
28
                  PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1
                                       Attorneys for Target Corp. and Viewsonic Corp.
 2

 3
                                       By: /s/ Richard Arnold
 4

 5                                      Richard Alan Arnold
                                        William J. Blechman
 6                                      Kevin J. Murray
                                        KENNY NACHWALTER, P.A.
 7                                      201 S. Biscayne Blvd., Suite 1100
 8                                      Miami, FL 33131
                                        Tel: 305-373-1000
 9                                      Fax: 305-372-1861
                                        Email: rarnold@knpa.com
10                                      Email: wblechman@knpa.com
                                        Email: kmurray@knpa.com
11

12                                      Attorneys for Plaintiff Sears, Roebuck and Co. and
                                        Kmart Corp.
13

14                                     By: /s/ Philip J. Iovieno

15                                     Stuart Singer
                                       BOIES, SCHILLER & FLEXNER LLP
16                                     401 East Las Olas Blvd., Suite 1200
                                       Fort Lauderdale, FL 33301
17                                     Telephone: (954) 356-0011
                                       Facsimile: (954) 356-0022
18                                     Email: ssinger@bsfllp.com
19                                     Philip J. Iovieno
                                       Anne M. Nardacci
20
                                       BOIES, SCHILLER & FLEXNER LLP
21                                     10 North Pearl Street, 4th Floor
                                       Albany, NY 12207
22                                     Telephone: (518) 434-0600
                                       Facsimile: (518) 434-0665
23                                     Email: piovieno@bsfllp.com
24                                     Email: anardacci@bsfllp.com

25                                     Attorneys for Plaintiffs Electrograph Systems, Inc.,
                                       Electrograph Technologies, Corp., Office Depot, Inc.,
26                                     Compucom Systems, Inc., Interbond Corporation of America,
                                       P. C. Richard & Son Long Island Corporation, Marta
27
                                       Cooperative of America, Inc., ABC Appliance, Inc., Schultze
28                                     Agency Services LLC on behalf of Tweeter Opco, LLC,

                  PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1                                     Tweeter Newco, LLC, Tech Data Corporation, and Tech
                                       Data Product Management, Inc.
 2

 3                                     By: /s/ David J. Burman
 4                                     David J. Burman
                                       Cori G. Moore
 5                                     Nicholas H. Hesterberg
                                       PERKINS COIE LLP
 6                                     1201 Third Avenue, Suite 4900
                                       Seattle, WA 98101-3099
 7
                                       Telephone: (206) 359-8000
 8                                     Facsimile: (206) 359-9000
                                       Email: dburman@perkinscoie.com
 9                                     Email: cgmoore@perkinscoie.com
                                       Email: nhesterberg@perkinscoie.com
10

11                                     Jordan S. Bass (Cal. Bar No. 208143)
                                       PERKINS COIE LLP
12                                     Four Embarcadero Center, Suite 2400
                                       San Francisco, CA 94111-4131
13                                     Telephone: (415) 344.7000
                                       Facsimile: (415) 344.7050
14                                     Email: jbass@perkinscoie.com
15
                                       Attorneys for Plaintiff Costco Wholesale Corporation
16

17

18

19

20

21

22

23

24

25

26

27

28
                  PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1                                     CERTIFICATE OF SERVICE

 2                 IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION
                                  Case No. CV-07-5944-SC
 3                                     MDL No. 1917

 4           I, Kenneth S. Marks, declare:

 5           I am employed in the County of Harris, State of Texas. I am over the age of 18 years and
     not a party to the within action. My business address is Susman Godfrey L.L.P., 1000 Louisiana
 6   Street, Suite 5100, Houston, Texas 77002.

 7          On December 22, 2014, I served a true and correct copy of the following document(s) in
     the manner indicated below:
 8
     [ ]     BY U.S. MAIL: I caused the said document(s) to be deposition in the United States mail,
 9           at Houston, Texas, in a sealed envelope with first-class postage thereon fully prepaid, to the
             addressee(s) named below: and
10   [X]     BY ELECTRONIC MAIL: I caused the said document(s) to be emailed to the offices
             and/or to attorneys of the offices of the addressee(s) named below.
11
                                    SEE ATTACHED SERVICE LIST
12

13   Dated: December 22, 2014                      Signed        /s/ Kenneth S. Marks
                                                                  Kenneth S. Marks
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 1                                                SERVICE LIST
     Philip J. Iovieno                               Mario N. Alioto
 2
     piovieno@bsfllp.com                             malioto@tatp.com
 3   Anne M. Nardacci                                Lauren C. Russell
     anardacci@bsfllp.com                            laurenrussell@tatp.com
 4   BOIES, SCHILLER & FLEXNER LLP                   Joseph M. Patane
     10 North Pearl Street, 4th Floor                jpatane@tatp.com
 5   Albany, NY 12207                                TRUMP, ALIOTO, TRUMP & PRESCOTT
 6   Tel: (518) 434-0600                               LLP
                                                     2280 Union Street
 7   Liaison Counsel for Direct Action Plaintiffs    San Francisco, CA 94123
     and Attorneys for Plaintiffs Electrograph       Tel: (415) 563-7200
 8   Systems, Inc., Electrograph Technologies,
     Corp., Office Depot, Inc., Compucom Systems, Interim Lead Counsel for Indirect Purchaser
 9   Inc., Interbond Corporation of America, P. C.   Plaintiffs Class
10   Richard & Son Long Island Corporation,
     Marta Cooperative of America, Inc., ABC
11   Appliance, Inc., Schultze Agency Services LLC
     on behalf of Tweeter Opco, LLC and Tweeter
12   Newco, LLC
     Kamala D. Harris                                Guido Saveri
13
        Attorney General of California               guido@saveri.com
14   Mark Breckler                                   R. Alexander Saveri
        Chief Assistant Attorney General             rick@saveri.com
15   Kathleen E. Foote                               Geoffrey C. Rushing
        Senior Assistant Attorney General            grushing@saveri.com
16   Emilio E. Varanini                              Cadio Zirpoli
17      Deputy Attorney General                      cadio@saveri.com
     455 Golden Gate Avenue, Suite 11000             SAVERI & SAVERI, INC.
18   San Francisco, CA 94102-3664                    706 Sansome Street
     Tel: (415) 703-5908                             San Francisco, CA 94111
19   emilio.varanini@doj.ca.gov                      Tel: (415) 217-6810
20
     Counsel for Plaintiff State of California        Interim Lead Counsel for The Direct
21                                                    Purchaser Plaintiffs Class

22

23

24

25

26

27

28
                  PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1   Jeffrey L. Kessler                           Hojoon Hwang
     jkessler@winston.com                         hojoon.hwang@mto.com
 2
     A. Paul Victor                               MUNGER, TOLLES & OLSON LLP
 3   pvictor@winston.com                          560 Mission Street, 27th Floor
     Eva W. Cole                                  San Francisco, CA 94105
 4   ewcole@winston.com                           Tel: (415) 512-4000
     Molly M. Donovan
 5   mmdonovan@winston.com                        William D. Temko
     WINSTON & STRAWN LLP                         william.temko@mto.com
 6
     200 Park Avenue                              Jonathan E. Altman
 7   New York, NY 10166-4193                      jonathan.altman@mto.com
     Tel: (212) 294-6700                          Bethany W. Kristovich
 8                                                bethany.kristovich@mto.com
     David L. Yohai                               MUNGER TOLLES & OLSON LLP
 9   david.yohai@weil.com                         355 South Grand Avenue, 35th Floor
10   Steven A. Reiss                              Los Angeles, CA 90071-1560
     steven.reiss@weil.com                        Tel. (213) 683-9100
11   Adam C. Hemlock
     adam.hemlock@weil.com                        Counsel for Defendants LG Electronics, Inc.,
12   WEIL, GOTSHAL & MANGES LLP                   LG Electronics USA, Inc., and LG Electronics
     767 Fifth Avenue                             Taiwan Taipei Co., Ltd.
13
     New York, NY 10153
14   Tel: (212) 310-8000

15   Counsel for Defendants Panasonic
     Corporation, Panasonic Corporation
16   of North America, and MT Picture
17   Display Co., Ltd.

18

19

20

21

22

23

24

25

26

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 1   Mark C. Dosker                                     Joseph R. Tiffany
     mark.dosker@ squirepb.com                          Joseph.tiffany@pillsburylaw.com
 2
     Nathan Lane, III                                   PILLSBURY WINTHROP SHAW PITTMAN,
 3   nathan.lane@ squirepb.com                           LLP
     SQUIRE PATTON BOGGS L.L.P.                         2550 Hanover Street
 4   275 Battery Street, Suite 2600                     Palo Alto, CA 94304-1114
     San Francisco, CA 94111                            Tel. (650) 233-4644
 5   Tel: (415) 954-0200
                                                        Counsel for Defendants IRICO Display
 6
     Counsel for Technologies Displays Americas         Devices
 7   LLC (in all actions except Office Depot Action)    Co., Ltd., IRICO Group Corporation, and
                                                        IRICO Group Electronics Co., Ltd.
 8   Ellen Tobin
     etobin@curtis.com
 9   Curtis, Mallet-Provost, Colt & Mosle LLP
10   101 Park Avenue
     New York, NY 10178
11   Tel: (212) 696-6000
     Fax: (212) 697-1559
12
     Arthur S. Gaus
13
     asg@dillinghammurphy.com
14   Dillingham & Murphy, LLP
     601 California Street, Suite 1900
15   San Francisco, CA 94108
     Tel: (415) 397-2700
16   Fax: (415) 397-3300
17
     Counsel for Technologies Displays Americas,
18   LLC (in the Office Depot action only)

19

20

21

22

23

24

25

26

27

28
                  PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1   John Taladay                                    Ian Simmons
     john.taladay@bakerbotts.com                     isimmons@omm.com
 2   Joseph Ostoyich                                 Benjamin G. Bradshaw
     joseph.ostoyich@bakerbotts.com                  bbradshaw@omm.com
 3   Charles M. Malaise                              Courtney C. Byrd
     Charles.malaise@bakerbotts.com
 4   Erik T. Koons                                   cbyrd@omm.com
     erik.koons@bakerbotts.com                       David Kendall Roberts
 5                                                   droberts2@omm.com
     BAKER BOTTS LLP
 6   The Warner                                      Kevin Douglas Feder
     1299 Pennsylvania Avenue, NW                    kfeder@omm.com
 7   Washington, DC 20004-2400                       O’MELVENY & MYERS LLP
     Tel: (202) 639-7909                             1625 Eye Street, NW
 8                                                   Washington, DC 20006-4001
     Jon V. Swenson                                  Tel: (202) 383-5163
 9   jon.swenson@bakerbotts.com
     BAKER BOTTS LLP                                 Michael Frederick Tubach
10   1001 Page Mill Road                             mtubach@omm.com
     Building One, Suite 200
11   Palo Alto, CA 94304                             O'MELVENY & MYERS LLP
     Tel. (650) 739-7500                             Two Embarcadero Center
12                                                   28th Floor
     Counsel for Defendants Koninklijke              San Francisco, CA 94111-3305
13
     Philips Electronics N.V., Philips               Tel. (415) 984-8700
14   Electronics North America
     Corporation, Philips Electronics                Counsel for Defendants Samsung
15   Industries (Taiwan), Ltd., and Philips          Electronics Co., Ltd., and Samsung
     da Amazonia Industria Electronica               Electronics America, Inc.
16
     Ltda.
17   Joel S. Sanders                                 Christopher M. Curran
     jsanders@gibsondunn.com                         ccurran@whitecase.com
18   Rachel S. Brass                                 Lucius B. Lau
     rbrass@gibsondunn.com                           alau@whitecase.com
19
     Austin V. Schwing                               Dana E. Foster
20   aschwing@gibsondunn.com                         defoster@whitecase.com
     GIBSON, DUNN & CRUTCHER                         WHITE & CASE, LLP
21   555 Mission Street, Suite 3000                  701 13th Street, NW
     San Francisco, CA 94105                         Washington, DC 20005
22   Tel: (415) 393-8200                             Tel: (202) 626-3600
23
     Counsel for Defendant Tatung Company
24   America and Counsel for Defendants
     Chunghwa Picture Tubes, Ltd. and Chungwha       Counsel for Defendants Toshiba Corporation,
25   Picture Tubes (Malaysia)                        Toshiba America, Inc., Toshiba America
                                                     Information Systems, Inc., Toshiba America
26
                                                     Consumer Products, L.L.C., and Toshiba
27                                                   America Electronic Components, Inc.

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 1   Christine Laciak                                Gary L. Halling
     christine.laciak@freshfields.com                ghalling@sheppardmullin.com
 2
     Richard Snyder                                  James L. McGinnis
 3   richard.snyder@freshfields.com                  jmcginnis@sheppardmullin.com
     Craig D. Minerva                                Michael Scarborough
 4   craig.minerva@freshfields.com                   mscarborough@sheppardmullin.com
     Bruce C. McCulloch                              SHEPPARD MULLIN RICHTER &
 5   bruce.mcculloch@freshfields.com                  HAMPTON LLP
     Terry Calvani                                   Four Embarcadero Center, 17th Floor
 6
     terry.calvani@freshfields.com                   San Francisco, CA 94111
 7   FRESHFIELDS BRUCKHAUS &                         Tel: (415) 434-9100
       DERINGER US, LLP
 8   700 13th Street, NW                             Counsel for Defendants Samsung SDI America
     10th Floor                                      Samsung SDI Co., Ltd., Samsung SDI Mexico
 9   Washington, DC 20005-3960                       S.A. de C.V., Samsung SDI Brasil Ltda.,
10   Tel: (202) 777-4500                             Shenzhen Samsung SDI Co., Ltd., Tianjin
                                                     Samsung SDI Co., Ltd., and Samsung SDI
11   Counsel for Defendant Beijing                   (Malaysia) Sdn. Bhd.
     Matsushita Color CRT Co., Ltd.
12

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14

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 1   Eliot A. Adelson                                   Calvin L. Litsey
     eadelson@kirkland.com                              calvin.litsey@faegrebd.com
 2
     James Maxwell Cooper                               FAEGRE BAKER DANIELS LLP
 3   max.cooper@kirkland.com                            1950 University Avenue, Suite 450
     KIRKLAND & ELLIS LLP                               East Palo Alto, CA 94303-2279
 4   555 California Street, 27th Floor                  Tel: (650) 324-6700
     San Francisco, CA 94104
 5   Telephone: (415) 439-1400                          Kathy Osborn
     Facsimile: (415) 439-1500                          kathy.osborn@faegrebd.com
 6
                                                        Ryan M. Hurley
 7   James H. Mutchnik                                  ryan.hurley@faegrebd.com
     jmutchnik@kirkland.com                             FAEGRE BAKER DANIELS LLP
 8   Kate Wheaton                                       300 N. Meridian Street, Suite 2700
     kate.wheaton@kirkland.com                          Indianapolis, IN 46204
 9   KIRKLAND & ELLIS LLP                               Tel: (317) 237-0300
10   300 North LaSalle
     Chicago, Illinois 60654                            Jeffrey S. Roberts
11   Telephone: (312) 862-2000                          Jeff.roberts@faegrebd.com
     Facsimile: (312) 862-2200                          FAEGRE BAKER DANIELS LLP
12                                                      3200 Wells Fargo
     Counsel for Defendants Hitachi, Ltd.,              1700 Lincoln Street
13
     Hitachi Displays, Ltd., Hitachi Asia, Ltd.,        Denver, CO 80203
14   Hitachi America, Ltd., and Hitachi                 Tel: (303) 607-3500
     Electronic Devices (USA), Inc.
15                                                      Stephen M. Judge
                                                        Steve.judge@faegrebd.com
16                                                      FAEGRE BAKER DANIELS LLP
17                                                      202 S. Michigan Street, Suite 1400
                                                        South Bend, IN 46601
18                                                      Tel: (574) 234-4149

19                                                      Counsel for Defendants Thomson S.A. (N/K/A
                                                        Technicolor SA); Thomson Consumer
20
                                                        Electronics, Inc. (N/K/A Technicolor USA,
21                                                      Inc.)

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 1   Brent Caslin
     bcaslin@jenner.com
 2
     JENNER & BLOCK LLP
 3   633 West 5th Street, Suite 3600
     Los Angeles, CA 90071-2054
 4   Tel: (213) 239-5100
 5   Terrence J. Truax
     ttruax@jenner.com
 6
     Michael T. Brody
 7   mbrody@jenner.com
     Shaun M. Van Horn
 8   svanhorn@jenner.com
     Gabriel A. Fuentes
 9   gfuentes@jenner.com
10   Molly M. Powers
     mpowers@jenner.com
11   JENNER & BLOCK LLP
     353 North Clark Street
12   Chicago, IL 60654
     Tel: (312) 222-9350
13

14   Counsel for Mitsubishi Electric Corporation,
     Mitsubishi Electric & Electronics USA, Inc.
15   and Mitsubishi Digital Electronic Americas,
     Inc.
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